              Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 1 of 14




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 8                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 9                                 AT SEATTLE
10 SECURITY NATIONAL INSURANCE
   COMPANY, a Washington corporation,           No.:
11
                         Plaintiff,             COMPLAINT FOR DECLARATORY
12                                              JUDGMENT
          v.
13
   MICHELLE URBERG, a Washington
14 resident; LEE BAUGH, a Washington
   resident; WILLIAM REEVE, a Washington
15 resident; MARISSA MORGAN, a
   Washington resident; HAOTIAN SUN, a
16 Washington resident; XIAN GONG, a
   Washington resident; DOUGLAS PYLE, a
17 Washington resident; LND
   CONSTRUCTION LLC, a Washington
18 limited liability company,

19                     Defendants.
20

21        COMES NOW Plaintiff SECURITY NATIONAL INSURANCE COMPANY
22 (“SNIC”), and for its Complaint for Declaratory Judgment against Defendants MICHELLE
23 URBERG, LEE BAUGH, WILLIAM REEVE, MARISSA MORGAN, HAOTIAN SUN,

24 XIAN GONG, DOUGLAS PYLE, and PROLETARIAT SERVICES, INC., alleges as

25 follows:
26

     COMPLAINT FOR DECLARATORY JUDGMENT                       PAGE 1   Bullivant|Houser|Bailey PC
     NO.:                                                              925 Fourth Avenue, Suite 3800
                                                                       Seattle, Washington 98104
                                                                       Telephone: 206.292.8930
                 Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 2 of 14




 1                                       I. THE PARTIES

 2         1.1    Plaintiff Security National Insurance Company (“SNIC”) is a Delaware

 3 corporation with its principal place of business located 12790 Merit Drive, Suite 200, Dallas,
 4 Texas 75251. At all times relevant, SNIC was in the business of providing insurance and was

 5 and is licensed to issue policies of insurance in the State of Washington.

 6         1.2    On information and belief, Defendants Michelle Urberg and Lee Baugh are

 7 owners of a newly constructed home sold to them in 2015. Their home is located at 832A

 8 N.W. 53rd Street, Seattle, Washington, in King County.

 9         1.3    On information and belief, Defendant Douglas Pyle is an owner of a newly

10 constructed home sold to him in 2015. His home is located 832B N.W. 53rd Street, Seattle,

11 Washington, in King County.

12         1.4    On information and belief, Defendants William Reeve and Marissa Morgan

13 are owners of a newly constructed home sold to them in 2015. Their home is located at

14 834A N.W. 53rd Street, Seattle, Washington, in King County.

15         1.5    On information and belief, Defendants Haotian Sun and Xian Gong are owners

16 of a newly constructed home sold to them in 2015. Their home is located at 834B N.W. 53rd
17 Street, Seattle, Washington, in King County.

18         1.6    Defendants Michelle Urberg, Lee Baugh, Douglas Pyle, William Reeve,

19 Marissa Morgan, Haotian Sun, and Xian Gong are referred to collectively as “Underlying
20 Claimants.”

21         1.7    On information and belief, Defendant LND Construction, LLC (“LND”) is a

22 Washington Limited Liability Company with its principal place of business located at 3610
23 S. 263rd Street, Kent, Washington 98032.

24                              II. VENUE AND JURISDICTION

25         2.1    The Court has jurisdiction pursuant to 28 U.S.C. § 1332(a), because the

26 amount in controversy exceeds $75,000, exclusive of interest and costs, and complete

     COMPLAINT FOR DECLARATORY JUDGMENT                              PAGE 2     Bullivant|Houser|Bailey PC
     NO.:                                                                       925 Fourth Avenue, Suite 3800
                                                                                Seattle, Washington 98104
                                                                                Telephone: 206.292.8930
                 Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 3 of 14




 1 diversity exists, because the Plaintiff is a citizen of different states than all defendants.

 2         2.2     Venue is proper pursuant to 28 U.S.C. § 1339(b)(2) because a substantial part

 3 of the events or omissions giving rise to Plaintiff’s claims occurred in this judicial district.
 4                                              III. FACTS

 5         3.1     SNIC incorporates by reference all allegations set forth in paragraph 1.1 to 2.2

 6 as if fully set forth herein.
 7 A.      The Subject Policies

 8         3.2     SNIC issued the following Commercial General Liability Policies to LND:

 9                                 Policy No. NA1025353-00
10                                 Effective Date 05/25/2012 – 05/25/2013
                                   Policy No. NA1025353-01
11
                                   Effective Date 05/25/2013 – 05/25/2014
12                                 Policy No. NA1025353-02
13                                 Effective Date 06/19/2014 – 06/19/2015

14 These policies are collectively referred to as the “Subject Policies.” Redacted copies of the

15 Subject Policies are attached hereto as Exhibits A, B, and C.

16         3.3     The Subject Policies provide commercial general liability coverage subject to
17 a limit of $1 million per occurrence, a $2 million general aggregate limit, and a $1 million

18 products-completed operations aggregate limit.

19         3.4     The Subject Policies are each subject to a $1,000 per claim property damage
20 liability deductible.

21         3.5     LND is the named insured under each of the Subject Policies.
22         3.6     Subject to all exclusions, limitations, and conditions, the Policy extends
23 insured status to “any person or organization that [LND] is obligated by virtue of a written

24 contract or agreement to provide insurance such as is afforded by [the Subject Policies].”

25         3.7     On information and belief, no written contract or agreement exists between
26 LND and PSI. If any such written contract or agreement exists, it does not contain a clause

     COMPLAINT FOR DECLARATORY JUDGMENT                                 PAGE 3     Bullivant|Houser|Bailey PC
     NO.:                                                                          925 Fourth Avenue, Suite 3800
                                                                                   Seattle, Washington 98104
                                                                                   Telephone: 206.292.8930
                 Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 4 of 14




 1 obligating LND “to provide insurance such as is afforded by [the Subject Policies].” As

 2 such, PSI is not an additional insured under any of the Subject Policies.

 3         3.8    Each of the Subject Policies contained Endorsement CG 2134 NR 01 87,

 4 Exclusion – Designated Work, which provided:

 5                             EXCLUSION – DESIGNATED WORK
                  This endorsement modifies insurance provided under the following:
 6
                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
 7                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE
                  PART
 8
                                             SCHEDULE
 9
                  Description of your work:
10                New Construction of a dwelling and work within, or on, the
                  premises of a dwelling prior to the certificate of occupancy
11                of the owner, regardless of whether the dwelling is a
12                custom home or the dwelling is built as part of a tract or a
                  multi-dwelling development;
13                (If no entry appears above, information required to
                  complete this endorsement will be shown in the
14
                  Declarations as applicable to this endorsement.)
15                This insurance does not apply to “bodily injury” or
                  “property damage” included in the products completed
16
                  operations hazard” and arising out of “your work”
17                operations described in the Schedule.

18         3.9    Each of the Subject Policies also contained endorsement CG 21 53 NR 01 96,
19 Exclusion – Designated Ongoing Operations, which provided:
20                   EXCLUSION – DESIGNATED ONGOING OPERATIONS
                  This endorsement modifies insurance provided under the following:
21
                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
22
                                             SCHEDULE
23                Description of Designated Ongoing Operation(s):
24                New construction of a dwelling and work within, or on, the
                  premises of a premises of a dwelling prior to the certificate
25                of occupancy of the owner, regardless of whether the
                  dwelling is a custom home or the dwelling is built as part
26                of a tract or multi-dwelling development;
     COMPLAINT FOR DECLARATORY JUDGMENT                             PAGE 4     Bullivant|Houser|Bailey PC
     NO.:                                                                      925 Fourth Avenue, Suite 3800
                                                                               Seattle, Washington 98104
                                                                               Telephone: 206.292.8930
                  Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 5 of 14




 1                        *       *      *

 2                 The following exclusion is added to paragraph 2.,
                   Exclusions of COVERAGE A – BODILY INJURY AND
 3                 PROPERTY DAMAGE LIABILITY (Section I – Coverages):
                   This insurance does not apply to “bodily injury” or
 4
                   “property damage” arising out of the ongoing operations
 5                 described in the Schedule of this endorsement, regardless
                   of whether such operations are conducted by you or on
 6                 your behalf or whether the operations are conducted for
                   yourself or for others.
 7
                   Unless a “location” is specified in the Schedule, this
 8                 exclusion applies regardless of where such operations are
                   conducted by you or on your behalf. If a specific “location”
 9                 is designated in the Schedule of this endorsement, this
                   exclusion applies only to the described ongoing operations
10                 conducted at that “location”.
11                 For purposes of this endorsement, “location” means
                   premises involving the same or connecting lots, or
12                 premises whose connection is interrupted only by a street,
                   roadway, waterway or right-of-way of a railroad.
13

14         3.10    The above-quoted exclusions are referred to collectively as the New

15 Construction Exclusions. Generally, the “New Construction Exclusions” apply to suits and

16 claims alleging “property damage” arising out of LND’s ongoing operations and/or work on
17 new construction residential projects, such as plaintiffs’ residential properties.

18 B.      The Underlying Lawsuit

19         3.11    The Underlying Claimants are homeowners who purchased new construction

20 homes in the Ballard neighborhood of Seattle (the “Subject Homes”).

21         3.12    The Subject Homes were developed by LLJ Ventures, LLC (“LLJ”) and

22 constructed by Proletariat Services, Inc. (“PSI”) in 2013 and 2014.
23         3.13    LLJ retained PSI to act as the general contractor for the new construction of

24 the Subject Homes.

25         3.14    PSI retained multiple subcontractors to construct the Subject Homes.

26         3.15    One of the contractors PSI retained was LND, which was responsible for

     COMPLAINT FOR DECLARATORY JUDGMENT                               PAGE 5     Bullivant|Houser|Bailey PC
     NO.:                                                                        925 Fourth Avenue, Suite 3800
                                                                                 Seattle, Washington 98104
                                                                                 Telephone: 206.292.8930
                  Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 6 of 14




 1 installing the weather resistive barrier, siding, and all related components.

 2         3.16    Shortly after moving in, the Underlying Claimants started to notice water

 3 intrusion in the interior of the Subject Homes.
 4         3.17    Thereafter, on July 11, 2016, the Underlying Claimants filed a Complaint for

 5 Breach of Contract, Breach of Express Warranty, and Breach of Implied Warranty (the

 6 “Underlying Complaint”) in King County Superior Court Cause No. 16-2-16181-2 SEA,
 7 captioned Michelle Urberg, Lee Baugh, William Reeve, Marissa Morgan, Haotian Sun, Xian

 8 Gong, and Douglas Pyle v. LLJ Ventures, LLC, Fiddle & Plow LLC, Itzak LLC aka Itzak

 9 Development aka Proletariat Services, Inc. (the “Underlying Lawsuit”). A copy of the
10 Underlying Complaint is attached as Exhibit D.

11         3.18    On September 23, 2016, PSI filed its Answer, Affirmative Defenses and

12 Third-Party Complaint against LND, among others (the “Third-Party Complaint). A copy of
13 the Third-Party Complaint is attached as Exhibit E.

14         3.19    On October 17, 2017, the Underlying Claimants settled with LLJ Ventures,

15 LLC (“LLJ”), whereby LLJ consented to a $1.57 million judgment, and the Underlying

16 Claimants agreed not to execute on the judgment against LLJ.
17         3.20    LLJ then assigned their rights to the Underlying Claimants against PSI and

18 against LLJ’s insurance companies:

19                 3. The Defendants [LLJ] assign all claims and agree Plaintiffs
                      can step into its shoes and pursue the claims against the
20                    contractors and/or subcontractors and do hereby assign to
                      the Plaintiffs all of their right, title, and interest in any cause
21                    of action, claim, demand, and/or damages of any nature
                      whatsoever, whether known or unknown, against all of the
22                    contractors and/or subcontractors who provided any services

23                 or materials on the Project. …

24                 4. The Defendants [LLJ] hereby assign to the Plaintiffs all of
                      their right, title, and interest in any cause of action, claim,
25                    demand and/or damages of any nature whatsoever, whether
                      known or unknown, against any and all of their [LLJ’s]
26                    insurance companies relating to or arising out of the Project.

     COMPLAINT FOR DECLARATORY JUDGMENT                                  PAGE 6     Bullivant|Houser|Bailey PC
     NO.:                                                                           925 Fourth Avenue, Suite 3800
                                                                                    Seattle, Washington 98104
                                                                                    Telephone: 206.292.8930
                  Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 7 of 14




 1                    This assignment includes any primary, umbrella or
                      additional insureds.
 2

 3         3.21    On May 18, 2018, the Underlying Claimants, as assignees of LLJ, settled with

 4 PSI, whereby PSI agreed to pay $800,000 to the Underlying Claimants and assign to the

 5 Underlying Claimants “any and all claims [PSI] has against LND … and LND’s insurance

 6 carrier(s) [here, SNIC].”
 7                 B. Delivery of Settlement Amount. [PSI] agrees to pay the
                      Plaintiffs before June 1, 2018 the total sum of $800,000
 8                    (eight hundred thousand dollars) as full and final satisfaction
                      of all claims that the Plaintiffs have or could bring, either
 9                    directly or as assignee, regarding [PSI]’s work on the
                      Project.
10
                   C. Assignment. [PSI] hereby assigns to the Plaintiffs any and
11                    all claims [PSI] has against LND Construction, LLC
                      (“LND”) and LND’s insurance carrier(s). [PSI] agrees to
12                    cooperate reasonably with Plaintiffs in the pursuit of all
                      claims against those carriers, but all expenses shall be
13                    Plaintiffs’ responsibility. Bu assigning these laims, [PSI] is
                      not making any representation that there is or is not
14                    insurance coverage, that there is or is not merit to the claims
                      and/or defenses presented against LND in any declaratory
15                    judgment actions, or that any of LND’s insurers have or
                      have not committed bad faith.
16
17         3.22    At no time did LND assign its rights against SNIC to any party – the

18 Underlying Claimants included.

19         3.23    On March 18, 2019, the Underlying Claimants, as assignee of PSI, obtained an

20 order of default against LND.

21         3.24    On September 27, 2019, the order of default was reduced to judgment in the

22 amount of $616,658.00 with an additional $20,071.26 in interest as of that date.
23 C.      SNIC’s Claims-Handling History

24         3.25    On November 2, 2016, LND tendered defense of PSI’s claims in the

25 Underlying Lawsuit to SNIC.
26

     COMPLAINT FOR DECLARATORY JUDGMENT                               PAGE 7    Bullivant|Houser|Bailey PC
     NO.:                                                                       925 Fourth Avenue, Suite 3800
                                                                                Seattle, Washington 98104
                                                                                Telephone: 206.292.8930
                  Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 8 of 14




 1         3.26    On February 10, 2017, SNIC issued its coverage position letter denying

 2 coverage pursuant to, among other things, the above-referenced “New Construction

 3 Exclusions.” A copy of SNIC’s letter (the “Declination Letter”) is attached hereto as
 4 Exhibit F.

 5         3.27    SNIC’s Declination Letter was received by LND on or before February 27,

 6 2017.
 7 D.      LND’s Bankruptcy Petition

 8         3.28    On October 4, 2017, LND filed a petition for bankruptcy pursuant to Chapter 7

 9 in the United States Bankruptcy Court, Cause No. 17-14355-TWD (the “Bankruptcy
10 Proceeding”).

11         3.29    Pursuant to 11 U.S.C. 362, PSI’s claims against LND were automatically

12 stayed in the Underlying Lawsuit for all assets of LND until those assets were no longer the
13 property of the bankruptcy estate.

14         3.30    On October 4, 2017, a Notice of Stay Regarding Bankruptcy was filed in the

15 Underlying Lawsuit putting all parties on notice – the Underlying Claimants included – of

16 the Bankruptcy Proceeding and the automatic stay.
17         3.31    According to the Bankruptcy Petition, LND stated that it had no intangible

18 property.

19         3.32    LND disclosed no rights, claims, or causes of any action against any third-

20 parties – including against SNIC.

21         3.33    On November 3, 2017, PSI filed a Motion for Limited Relief from Stay “but

22 only as to … LND[’s] … liability insurance.”
23         3.34    PSI’s Motion for Limited Relief from Stay requested as follows:

24                 COMES NOW Creditor [PSI] and respectfully requests relief
                   from the automatic stay, but only as to [LND’s] liability
25                 insurance. This will allow [PSI] to continue to prosecute its
                   claims against LND and the other non-debtor co-defendants in
26                 pre-petition construction defect litigation that is ongoing in the

     COMPLAINT FOR DECLARATORY JUDGMENT                                PAGE 8    Bullivant|Houser|Bailey PC
     NO.:                                                                        925 Fourth Avenue, Suite 3800
                                                                                 Seattle, Washington 98104
                                                                                 Telephone: 206.292.8930
                  Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 9 of 14




 1                 King County Superior Court for the State of Washington.

 2                                          *       *      *

 3                 [PSI] is not seeking to obtain any of LND’s non-insurance
                   assets, which shall remain available for creditors and other
 4                 interested parties.

 5                                          *       *      *

 6                 For the above reasons, there is cause to grant relief from the stay
                   as to LND’s liability insurance only, so that the Superior Court
 7                 action against LND and the non-debtor co-defendants may
                   continue.
 8

 9         3.35    The bankruptcy court granted PSI’s Motion for Limited Relief from Stay on

10 November 28, 2017.

11         3.36    On November 27, 2017, the bankruptcy trustee filed a Report of No

12 Distribution, which states as follows:
13                 I have neither received any property nor paid any money on
                   account of this estate; that I have made a diligent inquiry into
14                 the financial affairs of the debtor[] and the location of the
                   property belonging to the estate; and that there is no property
15                 available for distribution from the estate over and above that
                   exempted by law. …
16
                          Assets Abandoned … :                  $      0.00
17
                          Assets Exempt:                        $      0.00
18
                          Claims Scheduled:                     $73,391.42
19
                                  …
20
                          Claims Scheduled to be Discharged Without Payment:
21                                                          $73,391.42

22         3.37    According to the Bankruptcy Petition, LND disclosed four creditors. LND

23 stated that it owed an “unknown” amount to PSI; $73,391.42 to the Washington Department

24 of Labor & Industries; and no money to AT&T and to T-Mobile.

25         3.38    On April 20, 2018, the Bankruptcy Court approved the Trustee’s Report and

26 closed the Bankruptcy Proceeding.

     COMPLAINT FOR DECLARATORY JUDGMENT                                PAGE 9     Bullivant|Houser|Bailey PC
     NO.:                                                                         925 Fourth Avenue, Suite 3800
                                                                                  Seattle, Washington 98104
                                                                                  Telephone: 206.292.8930
               Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 10 of 14




 1         3.39   However, even though the Bankruptcy Proceeding closed, LND’s undisclosed

 2 claims and causes of action against SNIC remained the property of the bankruptcy estate and

 3 subject to the automatic stay pursuant to 11 U.S.C. 362.
 4 E.      The Underlying Claimants’ Attempts to Liquidate the Bankruptcy Estate’s
           Intangible Assets
 5

 6         3.40   On May 11, 2021, the Underlying Claimants obtained a Writ of Execution (the

 7 “Writ”), whereby the Court in the Underlying Lawsuit permitted the Underlying Claimants

 8 to levy LND’s insurance policy only, for purposes of plaintiffs collecting on their default

 9 judgment.
10                WHEREAS, [plaintiffs] recovered judgment against LND … in
                  the King County Superior Court on May 1, 2019, for the
11                principal sum of $616,658 with interest at the rate of 12% per
                  annum from August 31, 2018.
12
                  THEREFORE,… [the King County Sheriff] [is] hereby
13                commanded forthwith to take this Writ … to levy upon, seize
                  and take into possession and execution the below described non-
14                exempt personal property of [LND] … sufficient to execution
                  and to satisfy said judgment[.] … Suppose sufficient non-
15                exempt personal property cannot be found. In that case, you are
                  further commanded to make the amount of said judgment,
16                interest and increased interest, costs and increased costs, out of
                  LND … AmTrust North America Insurance policy, and make a
17                return of Writ within sixty days from the date hereof.

18                The description, value, and location of the subject property to be
                  levied upon is as follows: The sole asset which plaintiffs seek to
19                execute upon and to be levied is LND … , AmTrust North
                  America Insurance policy[.]
20
                  … The only personal property on which this Writ is directed
21                and collection of funds owed under the judgment shall be
                  derived is the AmTrust North America Insurance policy issued
22                to LND[.]

23         3.41   The Writ did not extend to LND’s extra-contractual causes of action against

24 SNIC. Instead, the Court in the Underlying Lawsuit limited the Underlying Claimants to

25 recovery of its default judgment by collecting against insurance policies issued by AmTrust
26 North America.

     COMPLAINT FOR DECLARATORY JUDGMENT                              PAGE 10   Bullivant|Houser|Bailey PC
     NO.:                                                                      925 Fourth Avenue, Suite 3800
                                                                               Seattle, Washington 98104
                                                                               Telephone: 206.292.8930
                  Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 11 of 14




 1          3.42    Using the Writ, the Underlying Claimants then obtained a Sheriff’s Notice of

 2 Levy and Notice of Sale that sought to levy LND’s extra-contractual claims against Security

 3 National Insurance Company and AmTrust North America. The Sheriff’s Notice of Levy
 4 and Notice of Sale stated:

 5                  TO: LND CONSTRUCTION LLC …

 6                  YOU ARE HEREBY NOTIFIED that under and by virtue of a
                    Writ of Execution issued out of the Superior Court of the State
 7                  of Washington, in and for the County of King before the
                    Honorable Jim Rogers, on the 11th day of May, 2021, in the
 8                  above entitled action, by the Clerk of the Court thereof, and to
                    me as Sheriff directed and delivered a copy of which Execution
 9                  is hereto attached, I do hereby levy upon:

10                  PROPERTY:
                    Intangible Chose in Action
11                  All rights, privileges, claims and causes of action including
                    but not limited to breached of the duty to investigation,
12                  evaluation, negotiation, defend, settle, indemnify or, breach
                    of contract, negligence, legal malpractice, fiduciary breach,
13                  Consumer Protection Act violations, and bad faith, that …
                    LND … has or had against AmTrust North America,
14                  AmTrust Financial Company, Security National Insurance
                    Company, and/or all affiliated companies, brokers and
15                  agents and any other insurance carrier which insured
                    LND[.]
16
17          3.43    The Sheriff’s Auction was originally scheduled to occur on July 14, 2021.

18          3.44    After several postponements, the Sheriff’s Auction was ultimately rescheduled

19 to September 22, 2021.
20          3.45    On September 22, 2021, the Underlying Claimants auctioned and claim to

21 have purchased the property described in paragraph 3.42 above for $100,000.

22                                           IV. COUNT I

23             Declaratory Judgment – No Coverage for PSI’s Claims Against LND

24          4.1     SNIC incorporates by reference all allegations set forth in paragraphs 1.1 to

25 3.45 as if fully set forth herein.
26

     COMPLAINT FOR DECLARATORY JUDGMENT                               PAGE 11   Bullivant|Houser|Bailey PC
     NO.:                                                                       925 Fourth Avenue, Suite 3800
                                                                                Seattle, Washington 98104
                                                                                Telephone: 206.292.8930
                  Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 12 of 14




 1          4.2     The Subject Policies constitute binding and enforceable contracts setting forth

 2 the rights and obligations of the parties.

 3          4.3     An actual and justiciable controversy exists between the parties regarding the

 4 existence and scope of coverage afforded to LND by the Subject Policies.

 5          4.4     Pursuant to the express terms, conditions, exclusions, and limitations of the

 6 Subject Policies, there is no liability coverage available to LND for the claims and damages
 7 alleged in the Third-Party Complaint against LND.

 8                                           V. COUNT II

 9   Declaratory Judgment – No Coverage for the Underlying Claimants’ Claims Against PSI

10          5.1     SNIC incorporates by reference all allegations set forth in paragraphs 1.1 to 4.4

11 as if fully set forth herein.

12          5.2     An actual and justiciable controversy exists between the parties regarding the

13 existence and scope of coverage afforded to PSI by the Subject Policies.

14          5.3     Pursuant to the express terms, conditions, exclusions, and limitations of the

15 Subject Policies, PSI was not an insured under any of the Subject Policies.

16          5.4     Pursuant to the express terms, conditions, exclusions, and limitations of the

17 Subject Policies, there is no liability coverage available to PSI for the claims and damages

18 alleged in the Underlying Complaint against PSI.

19                                          VI. COUNT III

20     Declaratory Judgment – Underlying Claimants Entitled to No Damages from SNIC

21          6.1     SNIC incorporates by reference all allegations set forth in paragraphs 1.1 to

22 5.4 as if fully set forth herein.
23          6.2     An actual and justiciable controversy exists between the parties regarding the

24 existence and scope of SNIC’s obligations, if any, to the Underlying Claimants with respect

25 to the Default Judgment against LND and the Subject Policies.
26

     COMPLAINT FOR DECLARATORY JUDGMENT                                PAGE 12   Bullivant|Houser|Bailey PC
     NO.:                                                                        925 Fourth Avenue, Suite 3800
                                                                                 Seattle, Washington 98104
                                                                                 Telephone: 206.292.8930
                 Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 13 of 14




 1         6.3     Pursuant to the express terms, conditions, exclusions, and limitations of the

 2 Subject Policy, SNIC is not obligated to pay any monies or damages to the Underlying

 3 Claimants as a result of the Default Judgment, the claims against LND and/or PSI, or any
 4 aspect of the procedural history of the Underlying Lawsuit.

 5         6.4     The Sheriff’s Notice of Levy and Notice of Sale, dated June 2, 2021, was not

 6 authorized, as drafted, by the King County Superior Court’s Writ of Execution, dated May
 7 11, 2021.

 8         6.5     To the extent any of LND’s assets or property were seized, levied, and/or sold

 9 at the King County Sheriff’s public auction, occurring on or about September 22, 2021 (or
10 any postponed date thereafter) pursuant to the Sheriff’s Notice of Levy and Notice of Sale,

11 dated June 2, 2021, such seizure, levy, and/or sale was unauthorized and in violation of

12 applicable state and federal law. As such, any such seizure, levy, and/or sale is null and void.
13                                   REQUEST FOR RELIEF

14         WHEREFORE, SNIC prays for judgment in its favor and against Defendants as

15 follows:

16         A.      Declaratory relief pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201,

17 that the Subject Policies afforded no coverage for claims asserted against LND in the

18 Underlying Lawsuit;

19         B.      Declaratory relief pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201,

20 that SNIC owed no duty to defend or indemnify LND with respect to claims asserted against

21 LND in the Underlying Lawsuit;

22         C.      Declaratory relief pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201,

23 that the Subject Policies afforded no coverage for claims asserted against PSI in the Underlying

24 Lawsuit;

25         D.      Declaratory relief pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201,

26 that PSI was not an insured of any of the Subject Policies;

     COMPLAINT FOR DECLARATORY JUDGMENT                              PAGE 13    Bullivant|Houser|Bailey PC
     NO.:                                                                       925 Fourth Avenue, Suite 3800
                                                                                Seattle, Washington 98104
                                                                                Telephone: 206.292.8930
                    Case 2:21-cv-01287 Document 1 Filed 09/22/21 Page 14 of 14




1             E.        Declaratory relief pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201,

2 that SNIC owed no duty to defend or indemnify LND with respect to claims asserted against

3 PSI in the Underlying Lawsuit;
4             F.        Declaratory relief pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201,

5 that the Underlying Claimants are not entitled to collect any damages from SNIC; and

6             G.        Such other and further relief as the Court deems just and appropriate.

7             DATED: September 22, 2021

8                                                    BULLIVANT HOUSER BAILEY PC

9
10                                                   By /s/ Michael A. Guadagno
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      COMPLAINT FOR DECLARATORY JUDGMENT                                  PAGE 14   Bullivant|Houser|Bailey PC
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